        Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 1 of 19




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
JUDICIAL WATCH, INC.,                )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )  Case No. 19-2743-CJN
                                     )
U.S. DEPARTMENT OF JUSTICE,          )
                                     )
                  Defendant.         )
____________________________________)

                          DECLARATION OF LAUREN M. BURKE

       I, Lauren M. Burke, declare:

       1.      I am counsel to Judicial Watch, Inc, plaintiff in the above-captioned matter.

       2.      Attached hereto as Exhibit A is a true and correct copy of Defendant United States

Department of Justice’s (“DOJ”) initial four-page record of the electronic communication that

initiated the counterintelligence investigation of President Trump’s 2016 presidential campaign

produced on March 17, 2020 in response to Plaintiff Judicial Watch, Inc.’s (“Judicial Watch”) July

11, 2019 Freedom of Information Act (”FOIA”) request.

       3.      Attached hereto as Exhibit B is a true and correct copy of the re-processed record,

dated February 23, 2021, produced by DOJ to Judicial Watch on March 2, 2021.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 20, 2021 in Baltimore, MD.

                                                      /s/ Lauren M. Burke________
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 2 of 19




  EXHIBIT A
        Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 3 of 19
                                                                                   U.S. Department of Justice




                                                                                  Federal Bureau of Investigation
                                                                                  Washington, D.C. 20535

                                                                                  March 17, 2020

William F. Marshall
c/o Chris Fedell & Paul J. Orfanedes
Judicial Watch, Inc
425 Third Street, SW
Suite 800
Washington, DC 20024
                                                              FOIPA Request No.: 1442326
                                                              Civil Action No.: 19-CV-02743
                                                              Subject: The Electronic Communication Which Led to
                                                              the Initiation of the Counterintelligence Investigation
                                                              of the Trump Campaign (as Described in the 4/4/18
                                                              Letter from Nunes to Wray and Rosenstein)
Dear Mr. Marshall:

          The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
United States Code, Section 552/552a. Below you will find checked boxes under applicable statutes for the
exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on the
processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
further explain justification for withheld information.

                            Section 552                                      Section 552a
            (b)(1)                                (b)(7)(A)                     (d)(5)
            (b)(2)                                (b)(7)(B)                     (j)(2)
            (b)(3)                                (b)(7)(C)                     (k)(1)

         50 U.S.C., Section 3024 (i)(1)           (b)(7)(D)                     (k)(2)
                                                  (b)(7)(E)                     (k)(3)
                                                  (b)(7)(F)                     (k)(4)

            (b)(4)                                (b)(8)                        (k)(5)

            (b)(5)                                (b)(9)                        (k)(6)
            (b)(6)                                                              (k)(7)

        4 pages were reviewed and 4 pages are being released.

       Please see the paragraphs below for relevant information specific to your request and the enclosed FBI
FOIPA Addendum for standard responses applicable to all requests.

            Document(s) were located which originated with, or contained information concerning, other
            Government Agency (ies) [OGA].

                This information has been referred to the OGA(s) for review and direct response to you.
                We are consulting with another agency. The FBI will correspond with you regarding this information
                when the consultation is completed.
        Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 4 of 19


         Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
additional standard responses that apply to all requests for records about yourself or any third party individuals.
“Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
of Exemptions.

         Although your request is in litigation, we are required by law to provide you the following information:

          If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
FOIPA Request Number assigned to your request so it may be easily identified.

          You may seek dispute resolution services by contacting the Office of Government Information Services
(OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so it may be easily identified.

        Please direct any further inquiries about this case to the Attorney representing the Government in this
matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
concerning your request.


               See additional information which follows.



                                                                 Sincerely,



                                                                 David M. Hardy
                                                                 Section Chief
                                                                 Record/Information
                                                                   Dissemination Section
                                                                 Information Management Division




Enclosure(s)

          In response to your Freedom of Information/Privacy Acts (FOIPA) request, enclosed is a processed copy of
Bates Stamped documents, FBI (19-cv-2743)-1 through FBI (19-cv-2743)-4. The enclosed documents represent the
final release of information responsive to your request.

                You were previously advised we were consulting with another agency concerning information related to
your litigation. This consultation is complete and the enclosed material is being released to you with the appropriate
exemption noted next to the redacted information pursuant to Title 5, United States Code, Section(s) 552/552a
exemptions (b)(1) and (b)(6).
                 Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 5 of 19

                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
            of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
            can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
            exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
            response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
            FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
            records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
            dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
            every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
            employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
            Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
            Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
            CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to
            name check requests received from federal agencies, for the purpose of protecting the United States from foreign and
            domestic threats to national security. Please be advised that this is a service provided to other federal agencies.
            Private Citizens cannot request a name check.
                    Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 6 of 19

                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 7 of 19
                   Obtained via FOIA by Judicial Watch, Inc.
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 8 of 19
                   Obtained via FOIA by Judicial Watch, Inc.
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 9 of 19
                   Obtained via FOIA by Judicial Watch, Inc.
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 10 of 19
                    Obtained via FOIA by Judicial Watch, Inc.
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 11 of 19




   EXHIBIT B
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 12 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 13 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 14 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 15 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 16 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 17 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 18 of 19
Case 1:19-cv-02743-CJN Document 26-2 Filed 04/20/21 Page 19 of 19
